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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 0:23-cv-60751-RS

 BRETT GROVES,

        Plaintiff,
 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP LLC,

       Defendant.
 _______________________________________/

                              JOINT NOTICE OF SETTLEMENT

        Plaintiff Brett Groves and Defendant Healthcare Revenue Recovery Group LLC submit

 this Joint Notice of Settlement and states that Parties have reached a settlement with regard to this

 case and are presently drafting, finalizing, and executing the formal settlement documents. Upon

 full execution of the same, the parties will file the appropriate dismissal documents with the Court.

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 DATED: April 28, 2023

  /s/ Thomas J. Patti             .
 THOMAS PATTI, ESQ.
 Florida Bar No. 118377
 E-mail: tom@pzlg.legal
 VICTOR ZABALETA, ESQ.
 Florida Bar No. 118517
 E-mail: victor@pzlg.legal
 PATTI ZABALETA LAW GROUP
 3325 Northwest 55th Street
 Fort Lauderdale, Florida 33309
 Phone: 561-542-8550

 COUNSEL FOR PLAINTIFF

  /s/ Ernest Kohlmyer___________________.
 ESRNEST KOHLMYER, ESQ.
 Florida Bar No. 0101108
 E-mail: SKohlmyer@Shepardfirm.com
 SHEPARD SMITH KOHLMYER & HAND PA
 2300 Maitland Center Parkway, Suite 100
 Maitland, Florida 33751
 Phone: 407-622-1772

 COUNSEL FOR DEFENDANT




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